Case 1:18-cr-00098-SCJ-LTW Document 175 Filed 01/07/22 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


UNITED STATES OF AMERICA

                                                        CRIMINAL CASE
v.
                                                  No. 1:18-CR-00098-SCJ-LTW


MITZI BICKERS




                                         ORDER

      This matter is before the Court to perfect the record. Defendant’s filing at

Doc. No. [124] included a request for additional time to review the Government’s

proposed juror questionnaire. Doc. No. [124], 2–3. Defendant also requested that

the Court shorten the length of the questionnaire. Id. Finally, Defendant asked to

include certain questions related to the Covid-19 pandemic. Id. at 3–4.

      After review, the Court determines that these requests are moot or are

otherwise due to be denied. Defendant’s request for more time to review the

questionnaire is moot, and the Court has provided the questionnaire it plans to

use for the trial (Doc. No. [166]). Thus, the requests for relief discussed herein and
Case 1:18-cr-00098-SCJ-LTW Document 175 Filed 01/07/22 Page 2 of 2




contained in Doc. No. [124] are DENIED. The Court DIRECTS the Clerk to

terminate the pendency of Doc. No. [124].


      IT IS SO ORDERED this 7th day of January, 2022.



                                    /s/ Steve C. Jones
                                    HONORABLE STEVE C. JONES
                                    UNITED STATES DISTRICT JUDGE




                                    2
